Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 1 of 15 PageID# 2




                                                                  Nov 09 2021




                                                        171
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 2 of 15 PageID# 3
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 3 of 15 PageID# 4
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 4 of 15 PageID# 5
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 5 of 15 PageID# 6
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 6 of 15 PageID# 7
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 7 of 15 PageID# 8
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 8 of 15 PageID# 9
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 9 of 15 PageID# 10
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 10 of 15 PageID# 11
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 11 of 15 PageID# 12
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 12 of 15 PageID# 13
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 13 of 15 PageID# 14
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 14 of 15 PageID# 15
Case 3:21-sw-00171-MRC Document 1-1 Filed 11/09/21 Page 15 of 15 PageID# 16
